           8:04-cr-00294-LSC-FG3                    Doc # 264           Filed: 12/20/11      Page 1 of 1 - Page ID # 890


AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:04CR294
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 13896-047
                                                                          )
GLENN E. WAGNER,                                                          )    David R. Stickman
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: May 11, 2005                                   )
Date of prior sentence reduction: August 13, 2008                         )

                   Order Regarding Motions for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motions of the Defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment
imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United
States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motions,

IT IS ORDERED: the unopposed motion (Filing No. 262) is GRANTED; the stipulation (Filing No. 263) is approved;
the Defendant’s previously imposed sentence of imprisonment (as reflected in the last judgment issued) of 188 months,
later reduced to 151 months, is reduced to 121 months; and the Defendant's pro se motion (Filing No. 258) is denied as
moot.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    35                                      Amended Offense Level:       31
     Criminal History Category: II                                      Criminal History Category:   II
     Previous Guideline Range: 188              to 235         months   Amended Guideline Range:     121   to 151   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
T       The reduced sentence is within the amended guideline range.
        The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgment dated May 11, 2005, shall remain in effect. The fine range is
$15,000-$4,000,000.

IT IS SO ORDERED.

Dated this 20th day of December, 2011
Effective Date: December 20, 2011
                                                               s/Laurie Smith Camp
                                                               Chief United States District Judge
